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                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

 ANAND EDKE, individually and on                   )
 behalf of all others similarly situated,          )   Case No. ______________________
                                                   )
                  Plaintiff,                       )
                                                   )   Removal from the Circuit Court of Cook
 v.                                                )   County, Illinois
                                                   )
 BELDEN INC.,                                      )   State Court Case No.: 2021CH00047
                                                   )
                  Defendant.                       )

                                     NOTICE OF REMOVAL

          PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. §§ 1332(a), 1441, and 1446(b),

Defendant Belden Inc. (“Belden”) hereby removes the above-captioned action, Anand Edke v.

Belden Inc., Case No. 2021CH00047 (the “State Court Action”), from the Circuit Court of Cook

County, Illinois, County Department, Chancery Division, to the United States District Court for

the Northern District of Illinois, Eastern Division. Belden hereby provides “a short and plain

statement of the grounds for removal” pursuant to 28 U.S.C. § 1446(a) and Dart Cherokee Basin

Operating Co., LLC v. Owens, 574 U.S. 81, 87 (2014).

          1.    This Court has original jurisdiction over this action because there is diversity of

citizenship between Plaintiff Anand Edke (“Plaintiff”) and Belden, and the amount in controversy

of Plaintiff’s individual claim exceeds $75,000, exclusive of interest and costs. 28 U.S.C. §§ 1332,

1441(b).

          2.    As set forth below, this case is timely and properly removed by the filing of this

Notice.
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                                              VENUE

          3.   The State Court Action was filed in Cook County. Therefore, venue properly lies

in the United States District Court for the Northern District of Illinois, Eastern Division. See 28

U.S.C. §§ 93(a)(1), 1391.

                            PLEADINGS, PROCESS, AND ORDERS

          4.    On or about January 6, 2021, Plaintiff Anand Edke (“Plaintiff”), individually and

on behalf of all others he claims to be similarly situated, filed the State Court Action. In accordance

with 28 U.S.C. § 1446(a), a true and correct copy of the process, pleadings, and orders served upon

Belden in the State Court Action, including the Summons and Complaint, is attached as Exhibit

A to this Notice. A copy of the docket in the State Court Action is attached as Exhibit B to this

Notice.

          5.   According to the allegations in the Complaint, Plaintiff and the members of the

putative class he purports to represent are persons whose personally identifiable information

(“PII”) was allegedly compromised in a third-party criminal attack on Belden’s computer systems.

See generally Compl.

          6.   The Complaint alleges five counts for: (1) negligence, (2) negligence per se, (3)

breach of implied contract, (4) violation of the Illinois Personal Information Protection Act, 815

Ill. Comp. Stat. 530/1, et seq., and (5) unjust enrichment.

                              SERVICE ON THE STATE COURT

          7.   Pursuant to 28 U.S.C. § 1446(d), promptly after filing this Notice of Removal in

the United States District Court for the Northern District of Illinois, written notice of such filing

will be given by the undersigned to Plaintiff’s counsel of record, and a copy of the Notice of

Removal will be filed with the Clerk of the Circuit Court of Cook County, Illinois.




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                                     TIMELINESS OF REMOVAL

        8.         Belden was served with a copy of the Summons and Complaint on January 14,

2021. This Notice has been filed within thirty (30) days after Belden was served with a copy of

the Summons and Complaint. This Notice is therefore timely as it is filed within the time period

provided by 28 U.S.C. § 1446(b).

              ORIGINAL JURISDICTION PURSUANT TO 28 U.S.C. § 1332(a)

        9.         This Court has jurisdiction over this case because there is diversity of citizenship

between Plaintiff and Defendants, and the amount in controversy exceeds $75,000. 28 U.S.C. §§

1332(a), 1441(b).

                              Complete Diversity of Citizenship Is Satisfied

        10.        Plaintiff is a citizen of Illinois. See Compl. ¶ 13.

        11.        Belden is a corporation organized under the laws of Delaware, with its principal

place of business located at 1 North Brentwood Boulevard, 15th Floor, St. Louis, Missouri, 63105.

See id. ¶ 14. Thus, Belden is a citizen of Delaware and Missouri. See 28 U.S.C. § 1332(c)(1) (for

diversity purposes, a corporation “shall be deemed to be a citizen of every State and foreign state

by which it has been incorporated and of the State or foreign state where it has its principal place

of business...”)

        12.        Thus, complete diversity of citizenship exists. See 28 U.S.C. § 1441(b).




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                               The Amount in Controversy Is Satisfied1

        13.     Based upon Plaintiff’s allegations and theories, the amount in controversy of

Plaintiff’s individual claim exceeds $75,000.

        14.     The Complaint seeks injunctive relief, including an order requiring Belden to, “for

a period of 10 years, appoint[] a qualified and independent third party assessor to conduct a SOC

2 Type 2 attestation on an annual basis to evaluate Belden’s compliance with the terms of the

Court’s final judgment, to provide such report to the Court and to counsel for the class, and to

report any deficiencies with the compliance of the Court’s final judgment.” Compl. at p. 25.

        15.     Under Seventh Circuit precedent, the amount in controversy includes “what

compliance with an injunction would cost the defendant.” Roppo v. Travelers Comm. Ins. Co.,

869 F.3d 568, 580 (7th Cir. 2017). The cost of conducting a SOC 2 Type 2 attestation “on an

annual basis” for a period of ten years, as Plaintiff requests, easily exceeds $75,000. Given the

ten-year attestation requirement that Plaintiff seeks to impose, the amount in controversy

requirement would be satisfied if the cost of conducing the attestation were just $7,500 per year.

The cost far exceeds this amount. See Exhibit C (a true and correct screenshot of a website

advertising SOC 2 Type 2 attestations at a cost of $30,000 per year). Indeed, the cost of conducting

a single SOC 2 Type 2 attestation can be much more than $30,000 depending on the scope of the

attestation and the number of systems that are included. But even using the $30,000 per year as a




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  Though Belden disputes that Plaintiff is entitled to bring this action, vehemently denies liability, and
contends that Plaintiff and the members of the putative class can recover nothing under the claims in the
Complaint, for purpose of removal only, Plaintiff’s allegations and the relief sought by Plaintiff are to be
considered in determining the value of the claims as pled and the amount in controversy. See Brill v.
Countrywide Home Loans, Inc., 427 F.3d 446, 448 (7th Cir. 2005) (“The question is not what damages the
plaintiff will recover, but what amount is ‘in controversy’ between the parties. That the plaintiff may fail
in its proof, and the judgment be less than the threshold (indeed, a good chance that the plaintiff will fail
and the judgment will be zero) does not prevent removal.”).


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conservative cost established by Exhibit C, brings the cost of this injunctive relief to $300,000,

more than enough to satisfy the amount in controversy. See Roppo, 869 F.3d at 580.

       16.     The Complaint also seeks “an award of damages, including actual, nominal, and

consequential damages.” See Compl. at p. 25. Among other things, these alleged damages include

“out-of-pocket expenses associated with the prevention, detection, and recovery from identity

theft, tax fraud, and/or unauthorized use of their PII” and “future costs in terms of time, effort, and

money that will be expended to prevent, detect, contest, and repair the impact of the PII

compromised as a result of the Data Breach for the remainder of Plaintiff’s and Class Members’

lives.” Compl. ¶ 98. These out-of-pocket expenses must be included in the amount in controversy

and only add to the amount in controversy already established in Paragraph 15.

       17.     The Complaint also seeks an award of punitive damages, which further increases

the amount in controversy. See Stull v. YTB Int’l, Inc., No. 10-cv-600-GPM, 2010 U.S. Dist.

LEXIS 108876, at *11 (S.D. Ill. Oct. 13, 2020) (“Plaintiffs in this case seek both actual and

punitive damages... ‘[E]ach must be considered to the extent claimed in determining the

jurisdictional amount.’” (quoting Sharp Elecs. Corp. v. Copy Plus, Inc., 939 F.2d 513, 515 (7th

Cir. 1991)).

       18.     In sum, adding together the requested injunctive relief, actual damages, and

punitive damages, Plaintiff’s individual claim places greater than $75,000 in controversy, which

satisfies the threshold required by 28 U.S.C. § 1332(a).

       19.     Accordingly, the jurisdictional requirements of diversity jurisdiction are satisfied.

See 28 U.S.C. §§ 1332(a), 1441(b).

       20.     Belden hereby reserves the right to amend this Notice of Removal.




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        WHEREFORE, Defendants remove this Action from the Circuit Court of Cook County,

Illinois, to this Court.



Dated: February 12, 2021                        /s/ Andrew Greene

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                                  CERTIFICATE OF SERVICE

        I hereby certify that on February 12, 2021, I electronically filed the foregoing NOTICE

OF REMOVAL with the Clerk of Court using the CM/ECF system, which will send notification

of such filing to all attorneys of record.

        On this date I further caused to be served on each of the attorneys identified below, via

U.S. Mail and e-mail, a copy of the foregoing document:


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                                             By:    /s/ Andrew Greene
                                                    Andrew Greene




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